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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §              Case No: 6:22-cv-00516-ADA-DTG
      Plaintiff,                      §
                                      §              PATENT CASE
vs.                                   §
                                      §              JURY TRIAL DEMANDED
NISSAN NORTH AMERICA, INC.,           §
                                      §
      Defendant.                      §
_____________________________________ §

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Nissan North

America, Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees

and costs.




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Dated: February 14, 2023.                  Respectfully submitted,

                                           /s/D. Bradley Kizzia
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                                           State Bar No. 24067322
                                           D. BRADLEY KIZZIA
                                           State Bar No. 11547550
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                                           ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing document was filed electronically on
February 14, 2023, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                       /s/D. Bradley Kizzia
                                       D. BRADLEY KIZZIA




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